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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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Virginia L. Giuffre,
                                          Plaintiff,

                     -against-                                                                    21-cv-6702(LAK)

Prince Andrew,
Duke of York, in his personal capacity,
also known as
Andrew Albeit Christian Edward,

                                          Defendant.
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                                                    ORDER RE SCHEDULING
                                                  AND PRETRIAL CONFERENCE
LEWIS A. KAPLAN, District Judge.

                    It is hereby,

                    ORDERED as follows:

                 I.       Counsel for both parties promptly shall confer regarding an agreed scheduling order. If
counsel are able to agree on a schedule and the agreed schedule calls for filing of the pretrial order not more than
six (6) months from the date of this order, counsel shall sign and file within twenty-one (21) days from the date
hereof a consent order in the form previously attached to Dkt. 7 for consideration by the Court. If counsel are unable
to agree on such a scheduling order, plaintiff and defendant each shall file with the Court, on or before October 22,
2021, a letter setting forth that party's proposed schedule, the rationale for its proposal and any objections to its
adversary's proposal, and a description of the discovery that it proposes to conduct, including proposed depositions.

                  2.     Regardless ofwhether a proposed consent scheduling order is filed on or before October 22,
2021, a video or teleconference will be held on November 3, 2021 at 11 a.m., Eastern Daylight Time. Counsel for
the parties shall make technical arrangements for the conference with the Court's deputy clerk.

                3.       The Court anticipates that members of the public will be permitted to access the audio of the
conference, provided, however, that all listeners other than counsel for the parties shall be placed in "listen mode"
and thus may not speak in or disrupt the proceedings. The recording, broadcasting or rebroadcasting of any part
of the proceedings is strictly prohibited.

                    SO ORDERED.

Dated:              September 25, 2021
